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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF OKLAHOMA

(l) C. CRAIG COLE AND (2) RUBY COLE,
husband and Wife,

Plaintii"fs,

(l) WEST AMERICAN INSURANCE COl\/IPANY,
(2) SAFECO INSURANCE COMPANY, and
(3) AMERICA FIRST INSURANCE COMPANY,

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)
v. ' ) Case No.: l4-cv-445-C
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Defendants. )
STIPULATION OF I)ISMISSAL WITH PREJUDICE
COl\/lE NOW the attorneys of record for all parties and hereby stipulate and agree that
the above captioned cause may be dismissed With prejudice to further litigation pertaining
to all matters involved herein, and state that a compromise settlement covering all claims has
been made between and among the parties, With each party to bear his or its own attorney
fees and costs.
Said parties hereby request the Court Clerl<: show this action as dismissed With
prejudice pursuant to this stipulation
Respeetfully sublnitted,
/s/ W.R. Cathcart
W.R. Cathcart, OBA #1566
2807 Classen Boulevard
Ol<:lahoma City, OK 73106

Phone: 405~524-l l l()
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Insumnce Company, Sqfeco Insurance
Company and America First Ins`umnce
Company

 

 

